 1   TERRY A. DAKE, LTD.
     11811 North Tatum Boulevard
 2   Suite 3031
     Phoenix, Arizona 85028-1621
 3   Telephone: (480) 368-5199
     Facsimile: (480) 368-5198
 4   tdake@cox.net

 5   Terry A. Dake - 009656

 6   Attorney for Trustee

 7                      IN THE UNITED STATES BANKRUPTCY COURT

 8                             FOR THE DISTRICT OF ARIZONA

 9   In re:                              )     In Chapter 7 Proceedings
                                         )
10   GREGG SETH REICHMAN;                )     Case No. 0:10-BK-24374-RJH
                                         )
11                            Debtor.    )
                                         )
12
              NOTICE OF BAR DATE FOR OBJECTIONS TO TRUSTEE’S MOTION
13
               PLEASE TAKE NOTICE that the trustee has filed the attached
14   motion with the Court. Your rights may be affected by this motion.

15             You should read these papers carefully, and discuss them with
     your attorney if you have one. If you do not have an attorney, you may
16   wish to consult one.

17             If you do not want the Court to grant the trustee’s motion, or
     if you want the court to consider your views on the trustee’s motion,
18   then on or before October 25, 2010, you or your attorney must file with
     the Court a written response setting forth your concerns and requesting
19   a hearing on the trustee’s motion. Your response must be filed with the
     Court at:
20
                              Clerk Of The Court
21                            United States Bankruptcy Court
                              230 N. First Ave.
22                            Ste. 101
                              Phoenix, Arizona 85003-1706
23
               If you mail your response to the Court, you must mail it early
24   enough so the Court will receive it on or before the date stated above.

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     Case 0:10-bk-24374-EPB   Doc 18 Filed 09/30/10 Entered 09/30/10 13:56:36   Desc
                              Main Document     Page 1 of 4
 1             You must also mail or e-mail1 a copy of your response to the
     attorney for the trustee at:
 2
                              Terry A. Dake, Esq.
 3                            TERRY A. DAKE, LTD.
                              11811 North Tatum Boulevard
 4                            Suite 3031
                              Phoenix, Arizona 85023-1621
 5                            tdake@cox.net

 6             If you or your attorney do not take these steps, the Court may
     decide that you do not oppose the trustee’s motion and may enter an
 7   order that grants the trustee’s motion without further notice or
     hearing.
 8
                 DATED September 30, 2010.
 9
                                         TERRY A. DAKE, LTD.
10

11
                                         By /s/ TD009656
12                                         Terry A. Dake
                                           11811 North Tatum Boulevard
13                                         Suite 3031
                                           Phoenix, Arizona 85028-1621
14                                         Attorney for Trustee

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27             E-mailed papers must be in pdf format.
28                                            2

     Case 0:10-bk-24374-EPB   Doc 18 Filed 09/30/10 Entered 09/30/10 13:56:36   Desc
                              Main Document     Page 2 of 4
 1   TERRY A. DAKE, LTD.
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 2   Suite 3031
     Phoenix, Arizona 85028-1621
 3   Telephone: (480) 368-5199
     Facsimile: (480) 368-5198
 4   tdake@cox.net

 5   Terry A. Dake - 009656

 6   Attorney for Trustee

 7                      IN THE UNITED STATES BANKRUPTCY COURT

 8                             FOR THE DISTRICT OF ARIZONA

 9
     In re:                              )     In Chapter 7 Proceedings
10                                       )
     GREGG SETH REICHMAN;                )     Case No. 0:10-BK-24374-RJH
11                                       )
                              Debtor.    )
12                                       )

13                     SECOND MOTION TO EXTEND DEADLINE TO
                                ASSUME OR REJECT
14
                 The trustee moves this Court to extend the deadline for
15
     assuming or rejecting the interest of the debtor in a limited liability
16
     company.    The trustee's motion is more fully set forth in and is
17
     supported by the following Memorandum Of Points And Authorities.
18
                 DATED September 30, 2010
19
                                         TERRY A. DAKE, LTD.
20
                                         By /s/ TD009656
21                                         Terry A. Dake
                                           11811 North Tatum Boulevard
22                                         Suite 3031
                                           Phoenix, Arizona 85028-1621
23                                         Attorney for Trustee

24
                         MEMORANDUM OF POINTS AND AUTHORITIES
25
                 It appears that the debtor has an interest in an entity known
26
     as KMA, II, LLC.     The debtor’s interest in that entity now belongs to
27
     the bankruptcy estate.        11 U.S.C. §541.
28

     Case 0:10-bk-24374-EPB   Doc 18 Filed 09/30/10 Entered 09/30/10 13:56:36   Desc
                              Main Document     Page 3 of 4
 1               While the trustee does not believe that the debtor’s interest

 2   in that entity is “executory” as that term is used in the Bankruptcy

 3   Code, the trustee requests that this Court extend the time for the

 4   trustee to assume or reject that asset should this Court at any time

 5   determine that the interest in this asset is executory.               The trustee is

 6   currently investigating the value of this asset.

 7               WHEREFORE,    the   trustee   prays   for   the   entry    of   an   order

 8   extending the time for the trustee to assume or reject the estate’s

 9   interest in KMA II, LLC pending further order of the Court.

10               DATED September 30, 2010.

11                                       TERRY A. DAKE, LTD.

12
                                         By /s/ TD009656
13                                         Terry A. Dake
                                           11811 North Tatum Boulevard
14                                         Suite 3031
                                           Phoenix, Arizona 85028-1621
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     Case 0:10-bk-24374-EPB   Doc 18 Filed 09/30/10 Entered 09/30/10 13:56:36    Desc
                              Main Document     Page 4 of 4
